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                                                                     5/25/21 4:17 pm
                                                                     CLERK
                                                                     U.S. BANKRUPTCY
                                                                     COURT - :'3$




                                                          274 and 299
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     11.   The continued hearing scheduled for May 26, 2021 is CANCELLED.
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